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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


*************************
MOISES FERNANDEZ, ET AL.,

                               Plaintiffs

                       v.                                     CIVIL ACTION NO.:
                                                                09-12149-EFH

P.O. KYLE R. WILCOX, ET AL.,

                Defendants.
*************************


                                             ORDER

                                            May 25, 2010

HARRINGTON, S.D.J.

       After a careful examination of the complaint, the Court allows the Motion to Dismiss by

defendant, Scott McNamara (Docket No. 21).

       All claims under Count I against defendant McNamara are dismissed because the

complaint fails to allege sufficient facts establishing that McNamara was aware that the arrests of

the plaintiffs were unlawful or that excessive force was being used. The complaint further fails to

allege facts indicating that there was an opportunity for McNamara to intervene to prevent the use

of excessive force or that McNamara otherwise acquiesced to the use of excessive force.

       This Order does not consider the state claims alleged by the plaintiffs. At the appropriate

time, those claims will be severed and remanded to state court for trial.
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      The Motion to Dismiss for failure to state a claim by defendant, Scott McNamara (Docket

No. 21), is ALLOWED.

      SO ORDERED.



                                          /s/ Edward F. Harrington
                                          EDWARD F. HARRINGTON
                                          United States Senior District Judge




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